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                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEW MEXICO


(Full Name)
                                              f,,fldP              CASE NO.       22cv649 LF
                                                                                  (To be supplied by the Cterk)




                                                                         CIVIL RIGHTS COMPLAINT
                                                                         PURSUANT TO 42 U.S.C.S1983




                                             A.       JURISDICTION

1)        ol D G, Fef=us?*citizenor
                               (//   New ne.l .;co
                  aintiff)
                     (pf
                                   -                                                                        ( Sraro \
      who presently resides at
                                                ra/E               address or place of




2)

                                                                                '<?           ,     and is employed as

                       Nel(?                                                       .     At the time the claim(s)
                           ( Position and title, if
        alleged in this complaint arose, was this defendant acting under color of state law?
        Yes I         No E      lf your answer is ,,yes,,, briefly explain:




xE-2          2178                 clvrL RtcHTS   COMPLATNT (42 U.S.C. S1983)
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                                                                                              is a citizen of

                                                                                   , and is   employed as
                                                                              .   At the time the claim(s)
                               (Positi#and title, if any)
                 alleged in this complaint arose, was this defendant acting under color
                                                                                              of state.
                  Yes  ff     ruo  E     lf your    answer is,,yes,,, briefly explain:




                 (Use the back      of this page to furnish the above        information for additional
                 defendants.)

           4) .1y::9l.Pl is invoked pursuant tg-?e u.s.c. s1343(3), 42u.s.c. s1e83. (rr you
              wsh to assert Jurisdiction under different or additionai statutes, yorhry
                                                                                                   lisi them
                below.)




                                          B.   NATURE oF THE CASE

           1)   Briefly state the background of your case.

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              Case 1:22-cv-00649-LF Document 1 Filed 09/01/22 Page 3 of 9
                            C.    CAUSE OF ACTION


  1)   I allege that the following of my constitutional rights, privileges or immunities have
                                                                                               been
       violated and that the following facts form the basis foi my aiiegations: (lf
                                                                                    necessary, you
       may attach up to two additional pages (8 112" x 11") to-exptiin any ailegation
                                                                                           or to list
       additional supporting facts.
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  '   .tto(75
     (2) Supiorting
                    t                        ,troreeQ -to k_' //ortE(e.Sf.
                        (lnclude all facts you consider important, including names
       persons involved, .facts:
                           places and dates. Describe exactly how each defendantls involved.
                                                                                               of
       State the facts clearly in your own words without citing l-eagt authority or argument.)
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       (2) Supporting Facts:

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           Case 1:22-cv-00649-LF Document 1 Filed 09/01/22 Page 4 of 9




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        Case 1:22-cv-00649-LF Document 1 Filed 09/01/22 Page 7 of 9
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D) pRevIoUS LAWSUITS AND ADMINISTMTIVE RELIEF

1) Have you begun other lawsuits in state or federal court
                                                                    dealing with the same facts
   involved in this action or othenrvise relating to the conditions of youii, jrisonment?
   I:t- t]_- fo ,     H.     f y"ri  ,**"r is-'YES", describe each tawsuit. (lf there is more
   tnan one lawsuit, describe    the additional lawsuits on another piece of paper, using the
  same outline.)


       a) Parties to previous lawsuit.
                 Plaintiffs:

                 Defendants:


      b)     Name of court and docket number:




      c)    Disposition (for example: Was the case dismissed? Was it appealed? ls
                                                                                  it still
            pending?




      d)    lssues raised:




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                                                -4-
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       e) Approximate date of filing lawsuit:

      0 Approximate date of disposition:

 2)    I have previously sought informal or
                                          formal releif frorn-the applgpriate  administrative officials
                                                                          - --liyour
      regarding the acts complained of in               yesll N;E                    answer is ,'yes,,,
      briefly describe how retief was sought.Part.c.
                                             and the r"ruit" lf youfiiswer is,,No,', briefly explain
      why administrative relief was not sought.




                                       E.   REQUEST FOR RELIEF

 1)                                                   rerief: T.
      t believe that r am entifled to the foilowing
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Ps;oJ otr OuEl tO /eArs.


      Signature of Attorney (if any)




      Attorney's full address and telephone
      number.



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                      DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that he is the plaintiff in the
                                                                                  above action,
that he has read the above complaint anO ifrai the information contained therein is true
                                                                                           and
correct. 28 U.S.C. Sec. 1746. 1g U.S.C. Sec. 1621.


 Executed   at   3   33   La   0afiS 5\, ''rE J?O on                                20   aa
                               (Location)




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